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                                                       U.S. Department of Justice

                                                       Michael R. Sherwin
                                                       Acting United States Attorney

                                                       District of Columbia


                                                       Judiciary Center
                                                       555 Fourth St., N.W.
                                                       Washington, D.C. 20530


                                                      October 6, 2020
Via Email
Sidney Powell
2911 Turtle Creek Blvd., Suite 300
Dallas, TX 75219
Jesse Binnall
Harvey & Binnall, PLLC
717 King Street
Suite 300
Alexandria, VA 22314


                Re:   United States v. Michael T. Flynn, 17-cr-00232 (EGS)
Dear Counsel:
        As we have previously disclosed, beginning in January 2020, the United States Attorney
for the Eastern District of Missouri has been conducting a review of the Michael T. Flynn
investigation. On September 23, 2020, the government disclosed handwritten notes of former
Deputy Director Andrew McCabe (23502) that were obtained and analyzed by USAO EDMO
during the course of its review. At some point during the course of the review of this page of
notes, government agents placed a clear sticky notes (with a colored tab) on this page of notes.
On the clear portion of this tab was written the date of 5/10/2017. This sticky note was
inadvertently not removed when the notes were scanned.
       I am providing a replacement version of this document, and ask that you destroy the prior
version provided to you. The content of the notes was not otherwise altered.
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        These materials are covered by the Protective Order entered by the Court on February 21,
2018.
                                            Sincerely,

                                            MICHAEL R. SHERWIN
                                            Acting United States Attorney

                                            KENNETH C. KOHL
                                            Acting Principal Assistant United States Attorney

                                     By:           /s/
                                            Jocelyn Ballantine
                                            Assistant United States Attorney
Enclosure
